Case 2:23-cv-00888-MCA-AME            Document 69         Filed 05/07/25          Page 1 of 1 PageID: 2655


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                                             April 21, 2025
    VIA ECF
    Hon. Madeline Cox Arleo, U.S.D.J.
    United States District Court
    District of New Jersey
   Martin Luther King Bldg. & U.S. Courthouse
   Newark, New Jersey 07101

           Re: /// re Ko mit Digital Ltd Secunlies Lifignfhn, Case No. 2;23-cv-0888-MCA-
                     AME

    Dear Judge Arieo,

           This firm, along with Davis Polk & Wardwell LLP, represents defendants Kornit Digital
    Ltd., Ronen Samuel, and Aion Rozncf (the "Kornit Defendants") in the above-referenced inatter.
    Additional named defendants Citigroup Global Markets Enc., Bardnys Cnpitn! Inc., Goldman
    Sachs & Co. LLC, Morgan Stanley & Co. LLC ("Underwriter Defendants," and with the Kornit
    Defendants, "Defendants") are represented by 0 Melveny & Myers.

           We write on behalf of Defendants to request an enlargement of the page !imks applicable
   to the motion to dismiss repEy briefs Defendants plan to file on Friday, April 25. As the Court wili
   recall) to maximize efficiency, En lieu of each defendant or group of defendants filing separatc»
   page-limit compEiant motions, Defendants requested and were granted permission to fi!e two
   moving briefs not to exceed a col!ective total ofsixty (60) pages, and Phiintifis were aFforded an
   equal number of pages for their opposition. (ECF No. 63.) Dependants previewed at that lime that
   they likely wou!d need additional pages for reply briefing, but would approach Ihe Court with a
   specific request once they had an opportunity lo review PlainlifTs* opposition. (/<7.) Having now
   had that opportunity, Defendants seek leave to file reply briefs not to exceed a collective total of
   thirty-five (35) pages (exclusive of tables). Plaintiffs consent to this request.

          If the foregoing meets with Your Honor s approval, we ask that this letter be So Ordered.
    We thank the Court fpr its kind attention and consideration of this request.

                                                         Respectiully submitted,

                                                        .s-/ Samuel
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                                                        Samuel L Portno).



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